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EXHIBIT B-
 

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Accredited Home Lenders, Ine., GRORGIA, PULASKE County

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‘mecredited Hotte ‘Lenders, Inc.,_
A California Corporation

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GEORGIA, PULASKI COUNTY
Clerk's Office, Superior Court

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DEFINITIONS

Words used in multiple sections of this document are defined below and other words are defined in Sections
3, 1L, 13, 18, 20 and 21, Certain rules regarding the usage of words used in this document are also provided
in Section 16.

(A) "Security Instrument" means this document, which is dated August 15, 2001
together with all Riders to this document.
(B) "Borrower" is

RAINER T. POLSSANT

Borrower is the grantor under this Security Instrument.

(C} "Lender" is

Accredited Home Lenders, Inc.

Lender isa Coxporation

organized and existing under the laws of the State of California

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Lender's address is

15030 Avenue of Science, Suite 100, San Diego, CA 92128
Lender is the grantee under this Security Instrument.
(D) "Note" means the promissory note signed by Borrower and dated August 15, 2001
The Note states that Borrower owes Lender

One Hundred Seventy One Thousand Seven Hundred and No/100 Dellars
(5.8 171,700.00 ) plus interest. Borrower has promised to pay this debt in regular Periodic
Payments and to pay the debt in full not later than September 1, 2031
{E) "Property" means the property that is described below umder the heading "Transfer of Rights in the
Py erty."
() "Loan" means the debt evidenced by the Note, plus interest, any prepayment charges and late charges
due under the Note, and ali sums due under this Security Instrument, plus interest.
{G) “Riders” means all Riders to this Security Instrument that are executed by Borrower. The following
Riders are to be executed by Borrower (check box as applicable]:

[x] Adjustable Rate Rider [_] Condominium Rider [_] Second Home Rider
Balloon Rider [_} Planned Unit Development Rider [Ji Family Rider
VA Rider | Biweekly Payment Rider Lx] Other(s) [specify]

Arbitration Rider

(A) “Applicable Law" means all controlling applicable federal, state and local statutes, regulations,
ordinances and administrative rules and orders (that have the effect of law} as well as all applicable final,
non-appealable judicial opinions.

(2) "Community Association Dues, Fees, and Assessments" means all dues, fees, assessments and other

charges that are imposed on Borrower or the Property by a condominium association, homeowners
association or similar organization.

(J) "Electronic Funds Transfer" means any transfer of funds, other than a bransaction originated by check,
draft, or similar paper instrument, which is initiated throngh an electronic terminal, telephonic instrument,
compuler, or magnetic tape so as to order, instruct, ar authorize a financial institution to debit or credit an
account. Such term includes, but is not limifed to, point-of-sale transfers, automated teller machine
transactions, transfers initiated by telephone, wire transfers, and automated clearinghouse transfers,

(&) "Escrow Items" means those items that are described in Section 3.

(L) "Miscellaneous Proceeds" means any compensation, settlement, award of damages, or proceeds paid by
any third party (other than insurance proceeds paid under the coverages described in Section 5) for. (Gi)
damage to, or destruction of, the Property; (ii) condemnation or other taking of all ar any part of the Property:
(i) conveyance in lieu of condemnation; or (iv) misrepresentations of, or omissions as to, the value and/or
condition of the Property. ;

(M) "Mortgage Insurance" means insurance protecting Lender against the nonpayment of, or default on,
ihe Loan. , .

(N) “Periodic Payment" means ihe regularly scheduled amount due for (i) principal and interest under the
Note, plus (ii) any amounts under Section 3 of this Security Instrument.

{O0) *RESPA® means the Real Estate Settlement Procedures Act (12 U.S.C. Section 2601 et seq.) and its
implementing regulation, Regulation X (24 C.F-R, Part 3500), as they might be amended from time to time,
or any additional or successor legislation or regulation that governs the same subject matter. As used in this
Security Instrument, “RESPA" refers to all requirements and restrictions that are imposed in regard to a
"federally related mortgage loan" even if the Loan does not qualify as a “federally related mortgage Ioan"
under RESPA,

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(P) "Successor in Interest of Borrower" means any party that has taken title to the Property, whether or not
that party has assumed Borrower’s obligations under the Note and/or this Security Insirument.

FRANSEER OF RIGHTS IN THE PROPERTY

This Security Instrument sectires to Lender: (i) the repayment of the Lean, and all zenewals, extensions and

modifications of the Note; and (ii) the performance of Borrower's covenants and agreements under this

Security Instrument and the Note. For this purpose, Borrower does hereby grant and convey io Lender and

Lendes’s successors and assigns, with power of sale, the following deseribed properiy located in the
County of PULASET z

[Type of Recording Jurisdiction] [Name of Recording Jurisdiction]
SEE EXHIBIT “A* ATTACHED

Parcel TD Number: H426 which currently has the address of
RT 4 GOLF COURSH ROAD , [Sreet]
HAWKINSVILLE icity] , Georgia 31036 {Zip Code}

("Property Address"):

TO HAVE ANP TO HOLD this property unto Lender and Lender’s successors and assigns, forever,
together with all the improvements now or hereafter erected on the property, and all casements,
appurtenances, and fixtuzes now or hereafter a part of the property. All replacements and additions shall also
be covered by this Security Instrument. All of the foregoing is referred to in this Security Instrument as the
“Property.”

BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby conveyed and has
the right to grant and convey the Property and that the Property is unencumbered, except for encumbrances of
record. Borrower warrants and will defend generally the title to the Property against all claims and demands,
subject to any encumbrances of record.

THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform
covenants with limited variations by jurisdiction to constitute a uniform security instrument covering real
property,

UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:

1, Payment of Principal, Interest, Escrow Items, Prepayment Charges, and Late Charges.
Borower shall pay when due the principal of, and interest on, the debt evidenced by the Note and any
prepayment charges and late charges due under the Note. Borrower shall also pay funds for Escrow Items
pursuant to Section 3. Paymenis due under the Note and this Security Instrument shall be made in U.S.

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EXHIBIT “A”

Tract 1: All that tract or parcel of land containing 0.864 in Land Lot 269 in the 12" Land
District of Pulaski County, Geargla, together with one story brick residence located
thereon, lying at the northwesterly intersection of Country Club Drive and Club Circle,
being more particularly described according to a plat of survey thereof prepared by
Jesse Danie! Priest, Surveyor, on October 17, 1994, which plat of record in Plat Book .
10, page 97, Clerk's Office, Pulaski Superior Court, is incorporated herein in aid of this
description and for all legal purposes described thereon, as follows, to wit; BEGINNING
at an iron pin set at the intersection formed by the westerly right of way margin of
Country Club Drive with the southerly right of way margin of Club Circle north 79
degrees 58 minutes 00 seconds west a distance of 128.63 feet to an iron pin; continue
north 70 degrees 38 minutes 00 west a distance of 69.31 feet fo an iron pin; continue
north 67 degrees 58 minutes 00 seconds wesi a distance of97.50 feet fo an iron pin; run
thence north 18 degrees 01 minutes 00 seconds east a distance of 128.63 feet to an
iron pin; run thence north 88 degrees 37 minutes 00 seconds east a distance of 199.91
feet to an iron pin on the west right of way margin of Country Club Drive, run thence
along said right of way margin of Country Club Drive south 02 degrees 30 minutes 00
seconds by Country Club Drive, southerly by Club Circle; west by property of Charles R.
Doster, and north by property of Theo Newman.

Tract |i: All that tract or parcel of land situate, lying and being on the northerly side of
Club Circle in Land Lot 269 in the 12" Land district of Pulaski County, Georgia, is
fronting on said Club Circle 84.31 feet, more or less. Sald tract is further identified as
being bound west by property of J. Andrew Hill, Jr. and Judith M, Hill, said Hill property
being more particularly described on a plat of record in Plat Book 8, page 92, Clerk's
Office, Pulaski Superior Court, in which reference is hereby specifically made: north by
property now or formerly of Theo Newman, easterly by existing lands of Grantees as
are more particularly described in a plat recorded in Plat book 16, page 97, Clerk's
Office, Pulaski Superior Court, to which reference is hereby specifically made, and
southerly by the right of way of Club Circle.

Except as the description is refined hereby, the subject property is the same property. as
that described in a deed from Andrew W. Wetherington and Debra C. Weiherington to
Charles Raymond Doster dated January 21, 1984, and recerded in Deed Book 105,
page 140, Clerk's Office, Pulaski Superior Court to which reference is hereby made in
aid of the description of the property described herein.

 

 
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cusrency. However, if any check or other instrument received by Lender as payment under the Note or this
Security Instrument is retumed to Lender unpaid, Lender may require that any or all subsequent payments
due under the Note and this Security Instrument be made in one or more of the follawing forms, as selected
by Lender: (a) cash; (b) money order; (c) certified check, bank cheek, treasurer’s check or cashier’s check,
provided any such check is drawn upon an institution whose deposits are insured by a federal agency,
instrumentality, or entity; or (d} Electronic Funds Transfer,

Payments are deemed received by Lender when received at the location designated in the Note or at
such other location as may be designated by Lender in accordance with the notice provisions in Section 15.
Lender may return any payment cr partial payment if the payment or partial payments are insufficient to bring
the Loan current. Lender may accept any payment or partial payment insufficient to bring the Loan current,
without waiver of any rights hereunder or prejudice to its rights to refuse suck payment or partial payments in
the future, but Lender is not cbligated to apply such payments at the time such payments are accepted. If each

- Periadic Payment is applied as of its scheduled due date, then Lender need not pay interest on unapplied.

funds. Lender may hold such unapplied funds until Borrower makes payment to bring the Loan current. If
Borrower does not do so within a reasonable period of time, Lender shall either apply sach funds or return
them to Borrower. If not applied earlier, such funds will be applied to the outstanding principal balance under
the Note immediately prior to foreclosure. No offset or claim which Borrower might have now or in the
future against Lender shall relieve Borrower from making paymenis duc under the Note and this Security
Instrument or performing the covenants and agreements secured by this Security Instrument.

2. Application of Payments or Proceeds. Except as otherwise described in this Section 2, all payments
accepted and applied by Lender shall be applied im the following order of priority: (a) interest due under the
Note; (b) principal due under the Note; (c) amounts due under Section 3. Such payments shall be applied to
each Periodic Payment in the order in which it became due. Any remaining amounts shail be applied first to
late charges, second to any other amounts due under this Security Instrument, and then ta reduce the principal
balance of the Note.

If Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a
sufficient amount to pay any late charge due, the payment may be applied to the delinquent payment and the
late charge. If more than one Periodic Payment is outstanding, Lender may apply any payment received from
Borrower to the repayment of the Petiodic Payments if, and to the extent that, each payment can be paid in
full. To the extent that any excess exists after the payment is applied to the full payment of one or more
Periodic Payments, such excess may be applied to any late charges due. Voluntary prepayments shall be
applied first to any prepayment charges and then as described in the Note.

Any application of payments, insurance proceeds, or Miscelianeous Proceeds to principal due under the
Noite shall not extend or postpone the due date, or change the amount, of the Periodic Payments.

3. Funds for Escrow Items. Borrower shall pay to Lender on the day Perlodic Payments are due under
the Note, until the Note is paid in full, a sum (the "Funds") to provide for payment of amounts due for: (a)
taxes and assessments and other items which can attain priority over this Security Instrument as a lien or
encumbrance on the Property; (b) leasehold payments or ground rents on the Property, if any: (¢) premiums
for any and all insurance required by Lender under Section 5; and {a} Morteage Insurance premiums, if any,
or any sums payable by Borrower to Lender in Heu of the payment of Mortgage Insurance premiums in
accordance with the provisions of Section 10. These items are called "Escrow Iterns." At origination or at any
time during the term of the Loan, Lender may require that Community Association Dues, Fees, and
Assessments, if any, be escrowed by Borrower, and such dues, fees and assessments shall be an Escrow Item.
Borrower shall promptly furnish to Lender all notices of amounts to be paid under this Section. Borrower
shall pay Lender the Funds for Escrow Items unless Lender waives Borrower's obligation to pay the Funds
for any or all Escrow Items. Lender may waive Borrower's obligation to pay to Lender Funds for any or all
Escrow Items at any time. Any such waiver may only be in writing. In the cvent of such waiver, Borrower

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shall pay directly, when and where payable, the amounts due for any Escrow Items for which payment of
Funds has been waived by Lender and, if Lender requires, shall furnish to Lender receipts evidencing such
payment within such time period as Lender may require. Borrower's cbligation to make such payments and
to provide receipts shall for all purposes be deemed to be a covenant and agreement contained in this Security
Instrument, as the phrase “covenant and agreement" is used in Section 9. If Borrower is obligated to pay
Escrow items directly, pursuant to a waiver, and Borrower fails to pay the amount due for an Escrow Item,
Lender may exercise its rights under Section 9 and pay such amount and Borrower shall then be cbligated
under Section 9 to repay to Lender any such amount. Lender may revoke the waiver as to any or all Escrow
Tiems at any time by a nctice given in accordance with Section 15 and, upon such revocation, Borrower shall
pay to Lender all Funds, and in such amounts, that are then required under this Section 3,

Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to apply
the Funds at the time specified under RESPA, and (b) not to exceed the maximum amount a lender can
require under RESPA. Lender shall estimate the amount of Funds due on the basis of current data and
reasonable estimates of expenditures of furmre Escrow Items or otherwise in accordance with Applicable Law.

The Funds shall be held in an instition whose deposits are insured by a federal agency, instrumentality,
or entity Gincluding Lender, if Lender is an institution whose deposits are so insured) or in any Federal Home
Loan Bank. Lender shall apply the Funds to pay the Escrow Items no later than the time specified under
RESPA. Lender shall not charge Borrower for holding and applying the Funds, annually analyzing the
escrow account, of verifying the Escrow Items, unless Lender pays Borrower interest on the Funds and
Applicable Law permits Lender to make such a charge. Unless an agreement is made in wriling or Applicable
Law requires interest to be paid on the Funds, Lender shall not be required to pay Borrower any interest or
garnings on the Funds. Borrower and Lender can agree in writing, however, that interest shall be paid on the
Funds. Lender shall give to Borrower, without charge, an annuat accounting of the Funds as required by
RESPA.

If there is a surplus of Funds held in escrow, as defined under RESPA, Lender shall account to
Borrower for the excess funds in accordance with RESPA. If there is a shortage of Funds held in escrow, as
defined under RESPA, Lender shall notify Borrower as required by RESPA, and Borrower shall pay to
Lender the amount necessary to make up the shortage in accordance with RESPA, but in no more than 12
monthly payments. If there is a deficiency of Funds held in escrow, as defined under RESPA, Lender shall
notify Borrower as tequired by RESPA, and Borrower shall pay to Lender the amount necessary to make up
the deficiency in accordance with RESPA, but in no more than 12 monthly paymenis.

Upon payment in full of all sums secured by this Security Instrument, Lender shall promptly refund to
Borrower any Funds held by Lender,

4. Charges; Liens. Borrower shall pay all taxes, assessments, charges, fines, and impositions
attributable to the Property which can attain priority over this Security Instrument, leasehold payments or
ground rents on the Property, if any, and Community Association Dues, Fees, and Assessments, if any. To the
extent that these items are Escrow Items, Borrower shall pay them in the manner provided in Section 3.

Borrower shail promptly discharge any lien which has priority over this Security Instrument uniess
Borrower: (a) agrees in writing to the payment of the obligation secured by the lien in a manner acceptable to
Lender, but only so long as Borrower is performing such agreement; (b) contests the lien in good faith by, or
defends against enforcement of the lien in, legal proceedings which in Lender’s opinion operate to prevent the
enforcement of the lien while those proceedings are pending, but only until such proceedings are concluded;
or (c) secures from the holder of the lien an agreement satisfactory to Lender subordinating the lien to this
Security instrament. If Lender determines that any pact of the Property is subject to a lien which can attain
ptiority over this Security Instrument, Lender may give Borrower a notice identifying the lien. Within 10

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days of the date on which that notice is given, Borrower shall satisfy the lien or take one or more of the
actions set forth above in this Section 4.
1 Lender may require Borrower to pay a one-time charge for a real estate tax verification and/or reporting
service used by Leader in connection with this Loan.

5, Property Insurance. Borrower shall keep the improvements now existing or hereafter erected on the
Property insured against loss by fire, hazards included within the term “extended coverage," and any other
hazards including, but not limited to, earthquakes and floods, for which Lendér requires insurance. This
insurance shall be maintained in the amounts Gneloding deductible levels} and for the periods that Lender
requires, What Lender requizes pursnant to the preceding seniences can change duting the term of the Loan.
The insurance catrier providing the insurance shall be chosen by Borrower subject to Lender’s right to
disapprove Borrower’s choice, which right shall not be exercised unreasonably. Lender may require
Borrower to pay, in connection with this Loan, either: fa) a one-time charge for flood zone determination,
certification and tracking services; or (b) a one-time charge for flood zone determination and certification
services and subsequent charges each time remappings or similar changes occur which reasonably might
affect such determination or certification. Borrower shall also be responsible for the payment of any fees
imposed by the Federal Emergency Management Agency in connection with the review of any flood zone
determination resulting from an objection by Borrower.

If Borrower fails to maintain any of the coverages described above, Lender may obtain insurance
coverage, at Lender's option and Borrower’s expense, Lender is under no obligation to purchase any
particular type or amount of coverage, Therefore, such coverage shall cover Lender, but might or might not
protect Borrower, Borrower’s equity in the Property, or the contents of the Property, against any risk, hazard
or liability and might provide greater or lesser coverage than was previously in effect. Borrower
acknowledges that the cost of the insurance coverage so obtained might significantly exceed the cost of
insurance that Borrower could have obtained. Any amounts disbursed by Lender under this Section 5 shall
become additional debt of Borrower secured by this Security Instument. These amounts shall bear interest at
ihe Note rate from the date of disbursement and shall be payable, with such interest, upon notice from Lender
lo Borrower requesting payment.

All insurance policies required by Lender and renewals of such policies shall be sebject to Lendex’s
tight to disapprove such policies, shall include a standard mortgage clause, and shall name Lender as
mortgagee and/or as an additional loss payee. Lender shall have the right to hold the policies and renewal
certificates. If Lender requires, Borrower shall promptly give to Lender all receipts of paid premiums and
renewal notices. If Borrower obtains any form of insurance coverage, not otherwise required by Lender, for
damage to, or destruction of, the Property, such policy shall imclude a standard mortgage clause and shalt
name Lender as mortgagee and/or as an additional loss payee.

In the event of loss, Borrower shall give prompt notice to the insurance carrier and Lender, Lender may
make proof of loss if not made promptly by Borrower. Usless Lender and Borrower otherwise agree in
writing, any insurance proceeds, whether or not the underlying insurance was required by Lender, shall be
applied io restoration or repair of the Property, if the restoration cr repair is economically feasibie and
Lerider’s security is not lessened. During such repair and restoration period, Lender shall have the right to
hold such insurance proceeds until Lender has had an opportunity to inspect such Property to ensure the work
has been completed to Lender’s satisfaction, provided that such inspection shall be undertaken promptly.
Lender may disburse proceeds for the repairs and restoration in a single payment or in a series of progress
payments as the work is completed. Unless an agreement is made in writing or Applicable Law reqnires
interest to be paid on such inserance proceeds, Lender shall not be required to pay Borrower any interest or
earnings on such proceeds, Fees for public adjusters, or other third parties, retained by Borrower shall not be
paid out of the insurance proceeds and shall be the sole obligation of Borrower. If the restoration or repair is.
not economically feasible or Lender’s security would be lessened, the insurance proceeds shall be applied to

 

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the sums Secured by this Security Instrument, whether or not then due, with the excess, if any, paid tc
Borrower, Such insutance proceeds shall be applied in the order provided for in Section 2.

If Barrower abandons the Property, Lender may file, negotiate and settle any available insurance claim
and related matters. If Borrower does not respond within 30 days to a notice from Lender that the insurance
carrier has offered to settle a claim, then Lender may negotiate and settle the claim. The 30-day period will
begin when the notice is given. In either event, or if Lender acquires the Property under Section 22 or
otherwise, Borrower hereby assigns to Lender (a) Borrower’s rights to any insurance proceeds in an amount
not to exceed the amounts unpaid under the Note or this Security Instrument, and (b) any other of Borrower's
tights (other than the right to any refund of unearned, premiums paid by Borrower} under all insurance
policies covering the Property, insofar as such righis are applicable to the coverage of the Properly, Lender
may use the insurance proceeds either to repair or restore the Property or to pay amounts unpaid under the
Note of this Security Instrument, whether or not then due,

é. Occupancy. Horower shall occupy, establish, and use the Property as Borrower's principal residence
within 60 days after the execution of this Security Instcument and shall continue to occupy the Property as
Borrower's principal residence for at least one year after the date of occupancy, unless Lender otherwise
agrees in writing, which consent shalf not be unreasonably withheld, or unless extenuating circumstances
exist which are beyond Borrower's control,

7. Preservation, Maintenance and Protection of the Property; Inspections. Borrower shall not
destroy, damage or impair the Property, allow the Property to deteriorate or commit waste on the Property.
Whether or not Borrower is residing in the Property, Borrower shall maintain the Preperty in order to prevent
the Property from deteriorating or decreasing in value due to iis condition. Unless it is determined pursuant to
Section 5 that repair or restoration is not econontically feasible, Bomower shall promptly repair the Property if
damaged to avoid further deterioration or damage. If insurance or condemmation proceeds are paid in
connection with damage to, or the taking of, the Property, Borrower shall be responsible for repaixing ox
restoring the Propezty only if Lender has released proceeds for such purposes. Lender may disburse proceeds
for the repairs and restoration ia a single payment or in a series of progress payments as the work is
completed, If the insurance or condemnation proceeds are not sufficient to repair or restore the Property,
Borrower is not relieved of Borrewer’s cblgation for the completion of such repair or restoration.

Lender or its agent may make reasonable entries upon and inspections of the Property. Hf it has
reasonable cause, Lender may inspect the interior of the improvements on the Property. Lender shall give
Borrower notice at the time of or prior to such an interior inspection specifying such reasonable cause,

&. Borrower's Loan Application. Borrower shall be in default if, during the Loan application process,
Borrower or any persons or entities acting at the direction of Borrower or with Borrower's knowledge or
consent gave materially false, misleading, or inaccurate information or statements to Lender (or failed to
provide Lender with material information) in connection with the Loan, Material representations include, but
are not limited to, representations concerning Borrower’s occupancy of the Property as Boreawer’s principal
residence.

9. Protection of Lender’s Interest in the Preperty and Rights Under this Security Instrument. if
(a) Borrower fails to perform the covenants and agreements contained in this Security Instrument, (b) there is
a legal proceeding that might significantly affect Lender’s interest in the Property and/or rights under this
Security Instrament (such ag a proceeding in bankruptcy, probate, for condemnation or forfeiture, for
enforcement of a lien which may attain priority over this Security Instrument or to enforce laws or
regulations), or (¢) Borrower has abandoned the Property, then Lender may do and pay for whatever is
reasonable or appropriate to protect Lenders interest in the Property and rights under this Security
Instrument, including protecting and/or assessing the value of the Property, and securing and/or repairing
the Property (as set forth below). Lender’s actions can incinde, bot are not limited to: (a} paying any sums
secured by a lien which has priority over this Security Instrument; (b} appeating in court: and (c) paying

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reasonabie attorneys’ fees to protect its interest in the Property and/or rights under this Security Instruntent,
including its secured pasition in a bankruptcy proceeding. Securing the Property includes, but is not limited
to, making repairs, replacing doors and windows, draining water from pipes, and eliminating building or
other code violations or dangerous conditions, Although Lender may take action under this Section 9, Lender
does not have to do so aud is not under any duty or obligation to do so. It is agreed that Lender incurs no
liability for not taking any or all actions authorized under this Section 9.

Any arnounts disbursed by Lender under this Section 9 shall become additional debt of Borrower
secured by this Security Instrument. These amounts shall bear interest at the Nofe zate from the date of
disbursement and shall be payable, with such interest, upon notice from Lender to Borrower requesting
payment.

If this Sceurity Instrument is on a Jeasehold, Borrower shall comply with ail the provisions of the lease,
If Borrower acquires fee title to the Property, the leasehold and the fee title shall not merge unless Lender
agrees to the merger in writing.

10. Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making the Loan,
Borrower shall pay the premiums required to maintain the Mortgage Insurance in effect. If, for any reason,
the Mortgage Insurance coverage required by Lender ceases to be available from the mortgage insurer that
previously provided such insurance and Borrower was required to make separately designated payments
toward the premiums for Mortgage Insurance, Borrower shall pay the preminms required to obiain coverage
substantially equivalent to the Mortgage Insurance previously in effect, at a cost substantially equivalent to
the cost fo Borrower of the Mortgage Insurance previously in effect, from an alternate morigage insurer
selected by Lender. If substantially equivalent Mortgage Insurance coverage is not available, Borrower shall
continue to pay fo Lender the amount of the separately designated payments that were due when the insurance
coverage ceased to be in effect, Lender will accept, use and retain these payments as 4 non-refundable loss
reserve in lieu of Mortgage Insurance. Such loss reserve shall be non-refundable, notwithstanding the fact that
the Loan is ultimately paid in full, and Lender shall not be required to pay Borrower any interest or earnings
on such loss reserve, Lender can no longer require loss reserve payments if Mortgage Insurance coverage (in
the amount and for the period that Lender requires) provided by an insurer seiected by Lender again becomes
available, is obtained, and Lender requires separately designated payments toward the premiums for Mortgage
Insurance, If Lender required Mortgage Insurance as a condition of making the Loan and Borrower was
required to make separately designated payments toward the premiums for Morigage Insurance, Borrower
shall pay the premiums required to maintain Mortgage Insurance in effect, or to provide a non-refundable loss
reserve, until Lender’s requirement for Mortgage Insurance ends in accordatice with any written agreement
between Borrower and Lender providing for such termination or until termination is sequired by Applicable
Law. Nothing in this Section 10 affects Borrower's obligation to pay interest at the rate provided in the Note.

Mortgage Insurance reimburses Lender (or any entity that purchases the Noie) for certain losses it may
incur if Borrower does not repay the Loan as agreed. Borrower is not a party to the Mortgage Insurance.

Motigage insurers evaluate their total risk on all such insurance in force from time fo time, and may

. enter info agreements with other patties that share or modify their tisk, or reduce losses, These agreements are

on terms and conditions that are satisfactory to the mortgage insurer and the other party (or parties) to these
agreements. These agreements may tequire the mortgage insurer to make payments using any source of funds
that the mortgage insurer may have available (which may include funds obtained from Mortgage Insurance
remiums),

, AS — of these agreements, Lender, any purchaser of the Note, another insurer, any reinsurer, any
other entity, or any affiliate of any of the foregoing, may receive (directly or indirectly) amounts that derive
from (or might be characterized as) a portion of Borrower’s payments for Mortgage Insurance, in exchange
for sharing or modifying the mortgage insurer’s risk, or reducing losses, If such agreement provides that an
affiliate of Lender takes a share of the insurer’s risk in exchange for a share of the premiums paid to the
insurer, the arrangement is often termed “captive reinsurance." Further:

{a) Any such agreements will not affect the amounts that Borrower has agreed to pay for
Mortgage Insurance, or any other terms of the Loan. Suck agreements will not increase the amount
Borrower will owe for Mortgage Insurance, and they will not entitle Borrower to any refund.

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(b) Any such agreements will net affect the rights Borrower has - if any - with respect*to the
Mortgage Insurance under the Homeowners Protection Act of 1998 or any other law. These rights may
include the right to receive certain disclosures, to request and obtain cancellation of the Mortgage
Insurance, to have the Mortgage Insurance terminated automatically, and/or to receive a refund of any
Mortgage Insurance premiums that were anearned at the time of such cancellation or termination.

11. Assignment of Miscellaneous Proceeds; Forfeiture. All Miscellaneous Proceeds are herchy
assigned to and shall be paid to Lender.

If the Properly is damaged, sucht Miscellaneous Proceeds shall be applied to restoration or repair of the
Property, if the restoration or repair is economically feasible and Lender's security is not lessened. During
such repair and restoration period, Lender shall have the right ta hold such Miscellaneous Proceeds until
Lender has had an opportunity to inspect such Property to ensure the work has been completed to Lender’s
Satisfaction, provided that such inspection shail be undetlaken promptly, Lender may pay for the repairs and
restoration in a single disbursement or in a series of progress payments as the work is completed. Unless an
agreement is made in writhig or Applicable Law requires interest to be paid on such Miscellaneous Proceeds,
Lender shall not be required to pay Borrower any interest or earnings on such Miscellaneous Proceeds. If the
restoration or repair is not econcmically feasible or Lender’s security would be lessened, the Miscellaneous -
Proceeds shal be applied to the sums secured by this Security Instrument, whether or not then due, with the
excess, if any, paid to Borrower, Such Miscellaneous Proceeds shall he applied in the order provided for in
Section 2.

In the event of a tol taking, destruction, or loss in value of the Property, the Miscellaneous Proceeds
shall be applied to the sums secured by this Security Instrument, whether or not then due, with the excess, if
any, paid to Borrower,

in the event of a partial taking, destruction, or loss in value of the Property in which the fair market
value of the Property immediately before the partial taking, destruction, or loss in value is equal to or greater
than the amount of the sums secured by this Security Instrument immediately before the pactial taking,
destruction, or loss in value, unless Borrower and Lender otherwise agree in writing, the sums secured by this
Security Instrument shall be reduced by the amount of the Miscellaneous Proceeds multiplied by the
following fraction: (a) the total amount of the sums secured immediately before the pattial taking, destruction,
or loss in value divided by (b) the fair market.value of the Property immediately before the partial taking,
destruction, or loss in value, Any balance shall be paid to Borrower,

In the event of a partial taking, destzuction, or loss in value of the Property in which the fair market
value of the Property immediately before the partial taking, destruction, or loss in value is less than the
amount of the sums secured immediately before the partial taking, destroction, or loss in value, unless
Borrower and Lender otherwise agree in writing, the Miscellaneous Proceeds shail be applied to the sums
secured by this Security Instrument whether or not the sums are then due,

Tf the Property is abandoned by Borrower, or if, after notice by Lender to Borrower that the Opposing
Party (as defined in the next sentence) offers to make an award to settle a claim for damages, Borrower fails
to respond to Lender within 30 days after the date the notice is given, Lender is authorized to collect and
apply the Miscellaneous Proceeds either to restoration or repair of the Property or to the sums secured by this
Security Instrument, whether or not then due. "Opposing Party" means the third party that owes Borrower
Miscellaneous Proceeds or the party against whom Borower has a right of action in regard to Miscellaneous
Proceeds.

Borrower shall be in default if any action or proceeding, whether civil or criminal, is begun that, in
Lender’s judgment, could result in forfeiture of the Property er other material impaisment of Lender’s interest
in the Property or rights under this Security Instrument. Borrower can cure such a default and, if acceleration
has eccurred, reinstate as provided in Section 19, by causing the action or proceeding to be dismissed with a
Tuling that, in Lender’s judgment, precludes forfeiture of the Property or other material impairment of
Lender’s interest in the Property or rights under this Security Instrument. The proceeds of any award or claim
for damages that are attributable to the impairment of Lender’s interest in the Property are hereby assigned
and shail be paid to Lender.

All Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall be applied
in the order provided for in Section 2.

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12. Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time for
payment or modification of amortization of the sums secured by this Security Instrument granted by Lender
to Borrewer or any Successor in Interest of Borrower shall not operate to release the liability of Borrower or
any Successors in Interest of Borrower. Lender shall not be required to commence proceedings against any
Successor in Interest of Borrower or to refuse to extend time for payment or otherwise modify amortization
of the sums secured by this Security Instrument by reason of any demand made by the original Borrower or
any Successors in Interest of Borrower. Any fosbearance by Lender in exercising any right or remedy
including, without Hmifation, Lendec’s acceptance of payments from third persons, entities or Successors in
Interest of Borrower or in amounts less than the amonnt ihen due, shali not be a waiver of or preclude the
exercise of any right or remedy.

13. Joint and Several Liability; Co-signers; Successors and Assigns Bound. Borrower covenants and
agrees that Borrower's obligafions and Hability shall be joint and several, However, any Borrower who
co-sigas this Security Instrument but dees not execute the Note (a “co-signer"): (a) is co-signing this
Seeurity Instrument only to mortgage, grant and convey the co-signer’s interest in the Property ander the
terms of this Security Instrument; (b) is not personally obligated to pay the sums secured by this Security
Instrument; and (c) agrees that Lender and any other Borrower can agree to extend, madify, forbear or make
any accommodations with regard to the terms of this Security Instrument or the Note without the ca-signer’s
consent.

Subject to the provisions of Section 18, any Successor in Interest of Borrower who assumes Borrower's
obligations under this Security Instrument in writing, and is approved by Lender, shall obtain ail of
Borrower’s rights and benefits wader this Security Instrument. Borrower shal{ not be teleased from
Borower’s obligations and liability under this Security Instrument unless Lender agrees to such release in
writing. The covenants and agreements of this Security Instrument shall bind (except as provided in Section
20) and benefit the successors and assigns of Lender.

14. Loan Charges. Lender may charge Borrower fees For services performed in connection with
Borrower's default, for the purpase of protecting Lender’s interest in the Property and rights under this
Security Instrument, imeluding, but not limited to, attorneys’ fees, property Inspection and valuation fees. In
regard to any other fees, the absence of express authority in this Security Instrument to charge a specific fee
to Borrower shall not be construed as a prohibition on the charging of such fee, Lender may not charge fees
that are expressly prohibited by this Secarity Instrument or by Applicable Law,

If the Loan is subject to a law which sets maxirum loan charges, and that law is finally interpreted so
that the interest or other Ioan charges collected or t0 be collected in connection with the Loan exceed the
permitted limits, then: (a) any such loan charge shall be reduced by the amount necessary to reduce the charge.
to the permitted timit; and (b) any sums already collected from Borrower which exceeded permitied Simits
will he cefunded to Borrower, Lender may choose to make this refund by reducing the principal owed under
the Note or by making a direct payment to Borrower. If a refund reduces principal, the reduction will be
treated as a partial prepayment without any prepayment charge (whether or not a prepayment charge is
provided for under the Note}. Borrower's acceptance of any such refund mare by direct payment to Borrower
will constitule a waiver of any zight of action Borrower might have arising ont of such overcharge.

15, Notices. All notices given by Borrower or Lender in connection with this Security Instrument must
be in writing. Any notice to Borrower in connection with this Security Instrument shall be deemed to have
been given to Borrower when mailed by first class mail or when actually delivered to Borrower’s notice
address if sent by other means. Notice to any one Borrower shall constitute notice to all Borrowers wolesa
Applicable Law expressly requires otherwise. The notice address shail be the Property Address unless
Borrower has designated a substitute notice address by notice to Lender. Borrower shall promptly notify
Lender of Borrower’s change of address, If Lender specifies a procedure for reporting Borrower’s change of
address, then Borrower shall only report a change of address through that specified procedure. There may be
only one designated notice address under this Security Instrument at any one time, Any notice to Lender shail
he given by delivering it or by mailing it by first class mail to Lender's address stated herein unless Lender
has designated another address by notice to Borrower. Any notice in connection with this Security Instrument
shail not be deemed to have been given to Lender until actually received by Lender. If any notice required by
this Security Instrument is also required under Applicable Law, the Applicable Law requirement will satisfy
the corresponding requirement under this Security Instrument.

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16. Governing Law; Severability; Rules of Coustruction. This Security Instrument shall be governed
by federal law and the iaw of the jurisdiction in which the Property is located, All rights and obligations
contained in this Security Instrument are subject to any requirements and limitations of Applicable Law.
Applicable Law might explicitly or implicitly allow the parties to agree by contract or it might be silent, but
such silence shall not be construed as a prohibition against agreement by contract. In the event that any
provision or clause of this Security Instrument or the Note conflicts with Applicable Law, such conflict shall
not affect other provisions of this Security Instrument or the Note which can be given effect without the
conflicting provision.

As used in this Security Instrument: (a) words of the masculine gender shall mean and include |
corresponding neuter words or words of the feminine gender; (b) words in the singular shall mean and
include the plural and vice versa; and (c) the word "may" gives sole discretion without any obligation to take
any action.

17. Borrower's Copy. Borrower shall be given one copy of the Note and of this Security Instrument.

18. Transter of the Property or a Beneficial Interest in Borrawer. As used in this Section 18,
"Interest in the Property” means any legal or beneficial interest in the Property, including, but not limited to,
those beneficial interests transferred in a bond for deed, contract for deed, installment sales contract or escraw
agreement, tite intent of which is the wansfer of tile by Borrower at a future date to a purchaser,

Tf all or any part of the Property or any Interest in the Property is sold or transferred {or if Borrower is
not a natural person and a beneficial interest in Borrower is sold or transferred) without Lender’s prior written
consent, Lender may requize immediate payment in full of all sums secured by this Security Instrument.
However, this option shall not be exercised by Lender if such exercise is prohibited by Applicable Law.

Tf Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shall
provide a period of not less than 30 days from the date the notice is given in accordance with Section 15
within which Borrower must pay all sums secured by this Security Instrument, If Borrower fails to pay these
sums prior to the expiration of this period, Lender may invoke any remedies permitted by this Security
Instrument without further notice or demand on Borrower.

19, Borrewer’s Right to Reinstate After Acceleration. If Borrower meeis ceriaia conditions,
Borrower shall have the right to have enforcement of this Security Instrument discontinued at any time prior
to the earliest of: (a) five days before sale of the Property pursuant to any power of sale contained in this
Security Instrument; (b) suneh other period as Applicable Law might specify for the termination of Borrower's
Tight to reinstate; or (c) entry of a judgment enforcing this Security Instrument. Those conditions are that
Borrower: (a) pays Lender all sums which then would be due under this Security Instrument and the Note as
if no acceleration had occurred; éb) cures any default of any other covenants or agreements; (c) pays all
expenses incurred in enforcing this Security Instrument, inciading, but not limited to, reasonable attorneys’
fees, property inspection aud valuation fees, and other fees incurred for the purpose of protecting Lender’s
interest in the Property and rights uader this Security Instrument; and (d) takes such action as Lender may
reasonably require to assure that Lender's interest in the Property and rights under this Security Instrument,
and Borrower’s obligation to pay the sums secured by this Security Instrument, shall continue unchanged.
Lender may require that Borrower pay such reinstatement sums and expenses in one or more of the following
forms, as selected by Lender: (a) cash; (b) money order; (c) certified check, bank check, treasurer's check or
cashier’s check, provided any such check is drawn upon an institution whose deposits are insured by a federal
agency, insteurnentality or entity; or (d) Electronic Funds Transfer. Upon reinstatement by Borrower, this
Security Instrument and obligations secured hereby shall remain fully effective as if no acceleration had
occurred. However, this right to reinstate shall not apply in the case of acceleration under Section 18,

20. Sale of Note; Change of Loan Servicer; Notice of Grievance, The Note or a partial interest in the
Note (together with this Security Instrument} can be sold one or more times without prior notice to Borrower.
A sale might result in a change in the entity (known as the "Loan Servicer") that collects Periodic Payments
due under the Note and this Security Instrument and performs other mortgage loan servicing obligations
under the Note, this Security Instrument, and Applicable Law. There also might be one or more changes of
the Loan Servicer unrelated to a sale of the Note. If there is a change of the Loan Servicer, Borrower will be
given written notice of the change which will state the name and address of the new Loan Servicer, the
address to which payments should be made and any other information RESPA requires in connection with a

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notice of transfer of servicing. If the Note is sold and thereafter the Loan is serviced by a Loan Servicer other
than the purchaser of the Note, the mortgage loan servicing obligations to Borrower will remain with the
Loan Servicer or be tansferred to a successor Loan Servicer and are not assumed by the Note purchaser
unless otherwise provided by the Note purchaser.

Neither Borrower nor Lender may commence, join, or be joined to any judicial action (as either an
individual litigant or the member of a class) that arises from the other party’s actions pursuant to this Security
Instrument or that alleges that the other party has breached any provision of, or any duty owed by reason of,
this Security Instrument, until suck Borrower or Lender has notified the other party (with such notice given in
compliance with the requirements of Section 15) of such alleged breach and afforded the other party hereto a

_ teasonable period after the giving of such notice to take corrective action, If Applicable Law provides a time
period which must elapse before certain action can be taken, that time period will be deemed to be reasonable
for purposes of this paragraph, The notice of acceleration and opportunity to cure given to Borrower pursuant
to Section 22 and the notice of acceleration given to Borrower pursuant te Section 18 shall be deemed to
satisfy the notice and opportunity to take corrective action provisions of this Section 20,

21. Hazardous Substances. As used in this Section 21: (a} “Hazardous Substances" are those
substances defined as toxic or hazardous substances, pollutants, or wastes by Environmental Law and the
following substances: gasoline, kerosene, other flammable or toxic petroleum products, toxic pesticides and
herbicides, volatile solvents, materials containing asbestos or formaldehyde, and radioactive materials; (b)
"Environmental Law” means federal laws and laws of the forisdiction where the Property is located that relate ~
io health, safety or environmental protection; (c) "Environmental Cleanup” includes any response action,
remedial action, or removal action, as defined in Environmental Law; and (@} an “Environmentat Condition"
means a condition that can cause, contribute to, or otherwise trigger an Environmental Cleanup.

i Borrower shall not canse or permit the presence, use, disposal, storage, or réleasa of any Hazardons

| Substances, or threaten to release any Hazardous Substances, on or in the Property. Borrower shalt net do,
nor allow anyone else to do, anything affecting the Property (a) that is in violation of any Environmental
Law, (b) which creates an Environmental Condition, or (c) which, due to the presence, use, or release of a
Hazardous Substance, creates a condition that adversely affects the value of the Property. The preceding two
sentences shall not apply to the presence, use, or storage on the Property of small quantities of Hazardous
Substances that are generally recognized to be appropriate to normal residential uses and to maintenance of
the Property (including, but not Hmited to, hazardous substances im consumer products),

Botrower shalt promptly give Lender written notice of (a) any investigation, claim, demand, lawsuit or
other action by any governmental or regulatory agency or private party involving ihe Property and any
Hazardous Substance or Environmental Law of which Borrower has actual knowledge, (b) any
Environmental Condition, including but not limited to, any spilling, leaking, discharge, release or threat of
release of any Hazardous Substance, and (c) any condition caused by the presence, use or release of a
Hazardous Substance which adversely affects the value of the Property, If Borrower learns, or is notified by
ary governmental or regulatory authority, or any private party, that any removal or other remediation of any
Hazardous Substance affecting Hie Property is necessary, Borrower shall promptly take all necessary remedial
actions in accordance with Environmental Law. Nothing herein shall create any obligation on Lender for an
Environmental Cleanup.

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NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows:

22,. Acceleration; Remedlies. Lender shall give notice to Borrower prior to acceleration following
Borrower’s breach of any covenant or agreement in this Security Instrament (but not prior to
acceleration under Section 18 unless Applicable Law provides otherwise), The notice shall specify: (a)
the default; (b) the action required to cure. the default; (c) a date, not less than 30 days from fhe date
the notice is given to Borrower, by which the default must be cured; and (d) that failure to cure the
default on or before the date specified in the notice may result in acceleration of ihe sums secured by
this Security Instrument and sale of the Property. The notice shall further inform Borrower of the
right ¢o reinstate after acceleration and the right to bring a court action to assert the non-existence of a
default or any other defense of Borrower to acceleration and sale. If the default is net cured on or
before the date specified in the notice, Lender at its option may require immediate payment in full of
all sums secured by this Security Iustrument without further demand and may invoke the power of
sale granted by Borrower and any other remedies permitted by Applicable Law. Borrower appoints
Lender the agent and attorney-in-fact for Borrower to exercise the power of sale. Lender shalk be
entitied to collect all expenses incurved in pursuing the remedies provided in this Section 22, including,
but not limited to, reasonable attorneys’ fees and costs of title evidence.

If Lender inyokes the power of sale, Lender shall give a copy of a notice of sale by public
advertisement. for the Sime and in the manner prescribed by Applicable Law. Lender, without further
demand on Borrower, shail sell the Property at public auction to the highest bidder at the time and
place and under the terms designated in the notice of sale in one or moye parcels and in any order
Lender determines. Lender or its designee may purchase the Property at any sale,

Lender shall convey to the purchaser indefeasible title to the Property, and Borrower hereby
appoints Lender Borrower’s agent and attorney-in-fact to make such conveyance. The recitals in the
Lender’s deed shall be prima facie evidence of the truth of the statements made therein. Borrower
covenants and agrees thai Lender shall apply the proceeds of the sale in the following order: (a) to all
expenses of the sale, including, but not limited to, reasonable attorneys’ fees; (b) to all sums secured by
this Security Instrument; and {c) any excess to the person or persons legally entitled to it. The power
and agency granted are coupled with an interest, are irrevocable by death or otherwise and are
cumulative to the remedies for collection of debt as provided by Applicable Law.

If the Property is sold pursuant to this Section 22, Borrower, or any person holding possession of
the Property through Borrower, shall immediately surrender possession of the Property to the
purchaser at the sale. If possession is not surrendered, Borrower or such person shall he a tenant
holding over and may be dispossessed in accordance with Applicable Law,

23, Release. Upon payment of all sums secured by this Security Instrument, Lender shall cancel this
Security lastument. Borrower shall pay any recordation costs, Lender may charge Bortower a fee for
releasing this Security Insirument, but only if the fee is paid to a third party for services rendered and the
charging of the fee is permitted under Applicable Law.

24, Waiver of Homestead. Borrower waives all rights of homestead exemption in the Property.

25, Assumption Net a Novation. Lender’s accepiance of an assumption of the obligations of this
Security Instrument and the Note, and any release of Borrower in connection therewith, shall not constitute a
novation.

26, Security Deed. This conveyance is to be construed under the existing laws of the State of Georgia

as a deed passing title, and not as a mortgage, and is intended to secure the payment of all sums secured’

hereby.
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BORROWER ACCEPTS AND AGREES to the terms and covenants contained in this Security
Instrument and in airy Rider executed by Borrower and recorded with it.

IN WITNESS WHEREOFP, Borrower has signed and sealed this Security Instrument.

rn _A (Seal)

RALNER T. PUESSANT -Borrower

(Seal)

-Borrower

 

Seal)

-Borrower

 

(Seal)

-Borrower

 

STATE OF GEORGIA,
Signed, sealed and delivered in the presence of:

(Seal}

~Borrower

 

(Seal).

~Borrewer

 

(Seal)

-Borrower

 

(Seal)

-Borrower

 

 

 

County ss:
Lee. ot uet¢
Unofiicial Witness
Notary Public,

State of Georgia

 

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